     Case: 1:21-cv-00232 Document #: 117 Filed: 03/11/24 Page 1 of 5 PageID #:441




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

KIMBERLY DOMANTAS,                             )
                                               )
       Plaintiff,                              )
                                               )      No. 21 C 232
       v.                                      )
                                               )      Magistrate Judge Gabriel A. Fuentes
MENARD, INC.,                                  )
                                               )
       Defendant.                              )


                                              ORDER

       In preparation for a jury trial set for May 13, 2024, the parties submitted a proposed pretrial

order on February 23, 2024 (D.E. 115), which included three motions in limine from Plaintiff and

two motions in limine from Defendant. We resolve all of these except for one of the defense

motions, on which we ask for additional submissions. Nothing in this order should be construed

as conveying a decision on any other part of the proposed pre-trial order; all other disputed issues

will be addressed during the final pre-trial conference.

I.     Legal Standard

       Trial courts have broad discretion in ruling on evidentiary issues before and during trial.

See Bridgeview Health Care Ctr., Ltd. v. Clark, 816 F.3d 935, 939 (7th Cir. 2016). “Although the

Federal Rules of Evidence do not explicitly authorize in limine rulings, the practice has developed

pursuant to the district court's inherent authority to manage the course of trials.” Luce v. United

States, 469 U.S. 38, 41 n.4 (1984). In ruling today, we wish to emphasize that our decisions are

preliminary and may be altered both up to and during trial, as the case unfolds and the course and

context of the litigation demands. Perry v. City of Chicago, 733 F.3d 248, 252 (7th Cir. 2013) (“As

a trial progresses, the presiding judge remains free to alter earlier rulings.”) That is, “a pre-trial
      Case: 1:21-cv-00232 Document #: 117 Filed: 03/11/24 Page 2 of 5 PageID #:442




ruling denying a motion in limine does not automatically mean that all evidence contested in the

motion will be admitted at trial.” Bruce v. City of Chi., No. 09 CV 4837, 2011 WL 3471074, at *1

(N.D. Ill. July 29, 2011). In the meantime, this Court makes the following rulings so that the parties

can plan ahead and prepare for trial accordingly.

        In making our rulings, we note that the parties submitted their motions in limine without

any discussion or argument, and our decisions here recognize that such arguments may be

forthcoming as needed at trial, against the backdrop of the developing factual context during trial.

II.     Motions

        A. Plaintiff’s Motions in Limine

               i. To bar any reference to the plaintiff's past medical history/any preexisting
               conditions.

        This motion is denied without prejudice. As the trial unfolds, Plaintiff will have the

opportunity to argue against the admissibility of evidence or reference to her past medical history

as introduced by Defendant, and to further object to any individual question or piece of evidence

as irrelevant, unfairly prejudicial, or perhaps lacking in foundation. The Court will be in a better

position to rule on this motion when it can do so with knowledge and understanding of the context

in which it is offered, and in particular, information about which specific conditions Defendant

should be barred from discussing at trial and what factual connections such conditions may have

to the claims and defenses in the case. Narsimhan v. Lowe's Home Centers, LLC, No. 19 CV 1255,

2022 WL 580800, at *5–6 (N.D. Ill. Feb. 25, 2022). To that end, before Defendant offers evidence

or embarks on cross-examination about Plaintiff’s past medical history, it must inform the court

and Plaintiff in a sidebar conversation, which will allow Plaintiff to argue against admissibility out

of the hearing of the jury.




                                                  2
    Case: 1:21-cv-00232 Document #: 117 Filed: 03/11/24 Page 3 of 5 PageID #:443




               ii. To bar any reference to unrelated health conditions, care or treatment.

       This motion is denied without prejudice, for the same reasons. As an initial matter, the

Court is uncertain what medical conditions Plaintiff considers “unrelated” to her claim for

damages. A sidebar is kindly directed before Defendant offers evidence or embarks on cross about

these other purportedly unrelated health conditions, care or treatment.

               iii. To bar the use of photographs of the scene of the event taken after the date
               of the incident.

       This motion is denied without prejudice. As the trial unfolds, Plaintiff will have the

opportunity to argue against the admissibility of photographs of the scene taken after the date of

the incident and in particular to argue that Defendant failed to lay a proper foundation or that the

photos are somehow not relevant or inadmissible under Federal Rule of Evidence 403. A sidebar

again is directed before Defendant attempts to allow the jury to see or hear this evidence.

       B. Defendant’s Motions in Limine

               i. To bar plaintiff from presenting undisclosed evidence, opinions, testimony
               and/or witnesses—including, but not limited to Menard, Inc. general manager
               and Menard, Inc. corporate representative.

       This motion is entered and continued because the Court is unable to rule on it without

additional information and argument from the parties. By noon on Friday, March 15, 2024, the

parties are ordered to submit a joint statement setting forth brief statements of Plaintiff’s and

Defendant’s position on why Plaintiff should be barred from presenting undisclosed evidence and

what kind of undisclosed evidence is truly feared here by Defendant. The Court appreciates that

expert opinions are limited by expert disclosures, but the Court is concerned that without knowing

more about what kind of opinions or testimony Defendant wishes to bar, a grant of this motion

might be too broad and might improperly limit Plaintiff’s ability to offer certain lay testimony

about, for example, her injuries or her condition. To the extent Defendant seeks to bar testimony

                                                 3
    Case: 1:21-cv-00232 Document #: 117 Filed: 03/11/24 Page 4 of 5 PageID #:444




from witnesses not disclosed in discovery, the Court needs to know whether Plaintiff intends to

offer evidence through those witnesses, what that evidence is, why those witnesses were not

disclosed, and why the parties contend that there is or is not prejudice from admission of this

evidence at trial under all the circumstances.

                 ii. To bar plaintiff herself from offering any testimony regarding diagnosis,
                 prognosis, or medical conclusions regarding her injury or condition, including
                 disability or accounts of what doctors told her.

          This motion is denied without prejudice. As the trial unfolds, Defendant will have the

opportunity to argue against the admissibility of evidence or reference to Plaintiff’s testimony

regarding her diagnosis, prognosis, or medical and to further object to any individual question or

piece of evidence based on lack of foundation or other grounds. The Court will be in a better

position to rule on this motion when it can do so with knowledge and understanding of the

context in which it is offered. Brama v. Target Corp., No. 14 CV 6098, 2019 WL 5536835, at *5

(N.D. Ill. Oct. 25, 2019) (denying motion in limine unless and until lay witness offers

inadmissible medical expert opinion or hearsay testimony.) Plaintiff is directed to raise at sidebar

the issue of whether such evidence is about to be offered, so that Defendant will have a chance to

object.




                                                  4
       Case: 1:21-cv-00232 Document #: 117 Filed: 03/11/24 Page 5 of 5 PageID #:445




III.     Conclusion

         For the above reasons, Plaintiff’s motions in limine 1-3 are denied without prejudice.

Defendant’s first motion in limine is entered and continued until after the parties submit a joint

statement summarizing their arguments about the motion should be granted or denied, and

Defendant’s second motion in limine is denied without prejudice.



SO ORDERED.
                                                    ENTER:


                                                    ________________________________
                                                    GABRIEL A. FUENTES
                                                    United States Magistrate Judge

DATED: March 11, 2024




                                                5
